       Entered on Docket December 12, 2013
                                                     Below is the Order of the Court.



 1
                                                      _________________________
 2                                                    Karen A. Overstreet
                                                      U.S. Bankruptcy Judge
 3                                                    (Dated as of Entered on Docket date above)

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 5

 6                  UNITED STATES BANKRUPTCY COURT
 _________________________________________________________________
 7                            WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8    In Re                                          )
                                                     )      Case No. 13-19746-KAO
 9    CLI HOLDINGS, INC. dba ALYDIAN,                )
                                                     )      ORDER DENYING DEBTOR’S
10                                         Debtor.   )      MOTION TO REJECT EXECUTORY
                                                     )      CONTRACT WITH BITVESTMENT
11                                                   )      PARTNERS, LLC
                                                     )
12

13             THIS MATTER having come before the Court for hearing upon the Debtor’s Motion

14    to Reject Executory Contracts (the “Motion”); and the Court having considered the Motion,

15    the declaration of Peter Vessenes and the amended declaration of Peter Vessenes submitted

16    in support of the Motion, the response of Bitvestment Partners LLC f/k/a Dalsa Barbour LLC

17    (“Bitvestment”) and the declarations of Daniel Gallancy and Bryan Reyhani submitted in

18    support of the Response, the Debtor’s Reply in support of the Motion and the supplemental

19    declaration of Peter Vessenes submitted in support of the reply; and having heard arguments

20    of counsel and having reviewed the files and records herein; and the Court having determined

21    that Bitvesment is a party in interest pursuant to 11 U.S.C. §1109 and has standing to object

22    to the Debtor’s Motion; and having determined that the Debtor’s Amended and Restated

23    Bitcoin Services Agreement with Bitvestment dated August 14, 2013 is not an executory

24    contract within the meaning of 11 U.S.C. §365; now, therefore, it is hereby

25             ORDERED, ADJUDGED AND DECREED that the Debtor’s Motion to reject the

26    executory contract with Bitvestment is hereby denied.
             FURTHER ORDERED that the Court's oral ruling made on the record is
       incorporated herein by this reference.
      ORDER DENYING MOTION TO REJECT EXECUTORY                       LANE POWELL PC
                                                              1420 FIFTH AVENUE, SUITE 4200
      CONTRACT WITH BITVESTMENT PARTNERS, LLC - 1           SEATTLE, WASHINGTON 98101-2338
      128054.0001/5892474.1                                                    206.223.7000 FAX: 206.223.7107


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 1                                         /// END OF ORDER ///

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22             APPROVED FOR ENTRY
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